Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. ____________-CIV-___________/____________


  ALEJANDRO DE RENZIS, on behalf of himself
  and others similarly situated,

         Plaintiff,

         v.

  AIRPORT CONCESSIONS GROUP, INC., a Florida Corporation,
  and GLOBAL CONCESSIONS, INC., a Florida Corporation,

        Defendants.
  _____________________________________________________/

                                           COMPLAINT

         1.      Plaintiff, ALEJANDRO DE RENZIS (hereinafter referred to as “Plaintiff”), is an

  individual residing in Miami-Dade County, Florida.

         2.      Defendants, AIRPORT CONCESSIONS GROUP, INC., a Florida Corporation,

  and GLOBAL CONCESSIONS, INC., a Florida Corporation, a/k/a GLOBAL MIAMI JOINT

  VENTURE (collectively referred to as “Defendants” and “GLOBAL MIAMI JOINT

  VENTURE”), have at all times material to this Complaint owned and/or operated restaurants in

  Miami-Dade County, Florida including but not necessarily limited to the “Islander Bar and Grill

  and “Café Versailles” at the Miami International Airport.

         3.      At all times material to this Complaint, Defendants, AIRPORT CONCESSIONS

  GROUP, INC. and GLOBAL CONCESSIONS, INC., a/k/a GLOBAL MIAMI JOINT

  VENTURE, directly or indirectly, acted in the interest of an employer toward Plaintiff and the

  other similarly situated employees, including without limitation directly or indirectly controlling

  the terms of employment and compensation of Plaintiff and the other employees similarly situated



                                                  1
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 2 of 13



  to him. Alternately, Defendants, AIRPORT CONCESSIONS GROUP, INC. and GLOBAL

  CONCESSIONS, INC., a/k/a GLOBAL MIAMI JOINT VENTURE, and each of their respective

  divisions, subsidiaries or affiliates, and parent entities, however constituted, were joint employers

  of Plaintiff and the other similarly situated employees because each, respective division, subsidiary

  or affiliate acted directly or indirectly in the interest of the other in relation to Plaintiff and the

  others similarly situated to him. As a second alternative, Defendants, AIRPORT CONCESSIONS

  GROUP, INC. and GLOBAL CONCESSIONS, INC., a/k/a GLOBAL MIAMI JOINT

  VENTURE, and each of their divisions, subsidiaries or affiliates, and parent entities, however

  constituted, were joint employers of Plaintiff because they commonly controlled the terms of

  compensation and employment of Plaintiff and the other similarly situated employees because

  Defendants are not completely disassociated with respect to the terms of compensation and

  employment of Plaintiff and the others similarly situated to him. As a final alternative, Defendants,

  AIRPORT CONCESSIONS GROUP, INC. and GLOBAL CONCESSIONS, INC., a/k/a

  GLOBAL MIAMI JOINT VENTURE, and each of their divisions, subsidiaries or affiliates, and

  parent entities, however constituted, directly or indirectly acted in the interest of an employer

  toward Plaintiff and the other similarly situated employees at all material times to this Complaint,

  including without limitation directly or indirectly controlling the terms of employment and

  compensation of Plaintiff and the others similarly situated to him.

           4.     Plaintiff brings this action on behalf of himself 1 and other current and former

  employees of Defendants similarly situated to Plaintiff who have worked as salaried “Assistant

  Managers,” “Senior Assistant General Managers,” and other restaurant employees, however

  variously titled, for unpaid overtime wages, liquidated damages, and the costs and reasonable



  1
      Attached hereto is a signed Consent to Join of ALEJANDRO DE RENZIS.


                                                    2
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 3 of 13



  attorneys’ fees of this action under the provisions of the FLSA, 29 U.S.C. §216(b). It is the intent

  of this collective action to apply to all similarly situated employees of Defendants regardless of

  location.

          5.      Jurisdiction is conferred on this Court by 29 U.S.C. §216(b) and 28 U.S.C. §1337.

          6.      All of the events, or a substantial part of the events, giving rise to this action,

  occurred in Miami-Dade County, Florida within the jurisdiction of the United States District Court

  for the Southern District of Florida.

          7.      At all times material to this Complaint including but not necessarily limited to

  during the years of 2017, 2018, 2019, and 2020, AIRPORT CONCESSIONS GROUP, INC. and

  GLOBAL CONCESSIONS, INC. a/k/a GLOBAL MIAMI JOINT VENTURE, have had two (2)

  or more employees who have regularly sold, handled, or otherwise worked on goods and/or

  materials that had been moved in or produced for commerce. In this regard, Plaintiff alleges based

  upon information and belief and subject to discovery, that at all times material to this Complaint

  including during the years 2017, 2018, 2019, and 2020, AIRPORT CONCESSIONS GROUP,

  INC. and GLOBAL CONCESSIONS, INC., a/k/a GLOBAL MIAMI JOINT VENTURE, have

  employed two (2) or more employees who, inter alia, have regularly: (a) handled, worked with,

  and sold food and beverages including but not limited to beef, pasta, fish, eggs, shrimp, chicken,

  pork, vegetables (such as tomato, onion, lettuce) corn, tortillas, rice, salsa, guacamole, salsa, sodas,

  juices, iced tea, beer, and liquor (in one location); (b) handled and worked with cooking equipment

  such as grills and refrigerators which were all goods and/or materials moved in or produced for

  commerce; (c) handled and worked with computers, telephones, papers, pens, and other supplies

  and materials in the operation of Defendants’ restaurant business, all of which were goods and/or

  materials moved in or produced for commerce; and (d) processed and participated in credit card




                                                     3
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 4 of 13



  and electronic bank transactions in interstate commerce.

         8.      Based upon information and belief, the annual gross sales volume of AIRPORT

  CONCESSIONS GROUP, INC. and GLOBAL CONCESSIONS, INC., individually and/or

  collectively, a/k/a GLOBAL MIAMI JOINT VENTURE, has been in excess of $500,000.00 per

  annum at all times material to this Complaint, including but not necessarily limited to during the

  years of 2017, 2018, 2019, and 2020.

         9.      At all times material to this Complaint, including but not necessarily limited to

  during the years of 2017, 2018, 2019, and 2020, AIRPORT CONCESSIONS GROUP, INC. and

  GLOBAL CONCESSIONS, INC., a/k/a GLOBAL MIAMI JOINT VENTURE, have constituted

  an enterprise engaged in interstate commerce or in the production of goods for commerce as

  defined by the FLSA, 29 U.S.C. §203(s).

         10.     During the three (3) year statute of limitations period between approximately late

  January 2017 and October 2018, Plaintiff worked for Defendants in the job titles known as

  “Assistant Manager” followed by “Senior Assistant General Manager,” based upon gross weekly

  wages for Forty (40) hours of work as follows: (a) $934.60 per week between late January 2017

  and approximately mid-September 2018; and (b) $969.60 per week between approximately mid-

  September 2018 and October 2018.

         11.     In numerous work weeks during the three (3) year statute of limitations period

  between approximately late January 2017 and October 2018, Plaintiff worked for Defendants in

  the job titles known as “Assistant Manager” followed by “Senior Assistant General Manager,”

  with Plaintiff’s primary duties throughout his employment consisting of the following non-exempt

  tasks: (a) doing prep work and cooking for the restaurant; (b) running food and working at the

  expo window of the kitchen/restaurant; (d) working as a host for the restaurant and working the




                                                  4
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 5 of 13



  same restaurant stations as line employees; (d) receiving and stocking merchandise; (e) cleaning

  tables while also sweeping and mopping the floors; and (f) ministerial clerical work such as

  completing “logs” in forms established and required by Defendants.

         12.     The additional persons who may become Plaintiffs in this action are GLOBAL

  MIAMI JOINT VENTURE’s current and former salaried “Assistant Managers,” “Senior Assistant

  General Managers,” and other restaurant employees, however variously titled, who have worked

  for Defendants in one or more weeks between January 2017 and the present without being paid

  time and one-half wages for all of their actual hours worked in excess of Forty (40) hours per week

  for GLOBAL MIAMI JOINT VENTURE.

         13.     During the three (3) year statute of limitations period between approximately late

  January 2017 and October 2018, Plaintiff regularly worked in excess of Forty (40) hours per week

  for Defendants while performing non-exempt work in the job titles known as “Assistant Manager”

  followed by “Senior Assistant General Manager.”

         14.     Likewise, the other employees of GLOBAL MIAMI JOINT VENTURE who are

  similarly situated to Plaintiff have regularly worked as salaried “Assistant Managers,” “Senior

  Assistant General Managers,” and other restaurant employees, however, variously titled, in excess

  of Forty (40) hours in one or more work weeks for Defendants within the three (3) year statute of

  limitations period between January 2017 and the present.

         15.     However, GLOBAL MIAMI JOINT VENTURE has failed to pay time and one-

  half wages for the overtime hours worked by Plaintiff and the other similarly situated salaried

  “Assistant Managers,” “Senior Assistant General Managers,” and other restaurant employees,

  however variously titled, for all of their actual overtime hours worked within the three (3) year

  statute of limitations period, with Defendants instead paying salaried wages for Forty (40) hours




                                                  5
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 6 of 13



  per week without time and one-half compensation for the overtime hours worked between January

  2017 and the present by Plaintiff and the other similarly situated employees.

            16.   During the three (3) year statute of limitations period between January 2017 and

  the present, GLOBAL MIAMI JOINT VENTURE has misclassified Plaintiff and the other salaried

  “Assistant Managers,” “Senior Assistant General Managers,” and other restaurant employees,

  however variously titled, similarly situated to Plaintiff as “exempt” from the overtime

  compensation requirements of the FLSA despite their primary job duties being non-exempt in

  nature.

            17.   The primary job duties performed by Plaintiff and the other similarly situated

  salaried “Assistant Managers,” “Senior Assistant General Managers,” and other restaurant

  employees, however variously titled, for GLOBAL MIAMI JOINT VENTURE between January

  2017 and the present did not involve the exercise of independent judgment nor were their primary

  duties administrative tasks that involved exercising discretion for Defendants’ general business

  operations.

            18.   Likewise, the primary duties and work performed by Plaintiff and the other

  similarly situated salaried “Assistant Managers,” “Senior Assistant General Managers,” and other

  restaurant employees, however variously titled, for GLOBAL MIAMI JOINT VENTURE between

  January 2017 and the present have required little skill and no capital investment, as these duties

  did not substantially include managerial responsibilities or the exercise of independent judgment

  with respect to matters of significance in the operation of Defendants’ administration or production

  operations.

            19.   Instead, Plaintiff and the other similarly situated salaried “Assistant Managers,”

  “Senior Assistant General Managers,” and other restaurant employees, however variously titled,




                                                   6
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 7 of 13



  have devoted the majority of their working time for Defendants within the three (3) year statute of

  limitations period between January 2017 and the present to performing manual labor and other

  ministerial restaurant tasks as well as clerical tasks for GLOBAL MIAMI JOINT VENTURE.

         20.     Finally, the primary duties of Plaintiff and the other similarly situated salaried

  “Assistant Managers,” “Senior Assistant General Managers,” and other restaurant employees,

  however variously titled, for Defendants during the three (3) year statute of limitations period

  between January 2017 and the present was not management of any department(s), subdivision(s),

  or job site(s) of GLOBAL MIAMI JOINT VENTURE, and Plaintiff and the other salaried

  “Assistant Managers,” “Senior Assistant General Managers,” and other restaurant employees,

  however variously titled, had no authority for and did not regularly interview, hire, discipline, or

  fire employees of GLOBAL MIAMI JOINT VENTURE.

         21.     During the three (3) year statute of limitations period between approximately late

  January 2017 and October 2018, Plaintiff regularly worked an average of approximately Five (5)

  days per week with start times of approximately 12:00 p.m. and stop times of approximately 12:00

  a.m. averaging approximately Sixty (60) hours per week, of which Plaintiff spent an average of

  approximately Eighty Percent (80%) of his working hours each day carrying out manual labor in

  Defendants’ restaurant(s).

         22.     However, GLOBAL MIAMI JOINT VENTURE has failed to pay time and one-

  half wages for all of the hours that Plaintiff and other salaried “Assistant Managers,” “Senior

  Assistant General Managers,” and other restaurant employees, however variously titled, have

  worked in excess of Forty (40) hours per week for Defendants in numerous work weeks during the

  three (3) year statute of limitations period between approximately January 2017 and the present as

  required by the Fair Labor Standards Act, with GLOBAL MIAMI JOINT VENTURE instead




                                                   7
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 8 of 13



  misclassifying Plaintiff and the other employees similarly situated to him as exempt from the

  FLSA’s overtime compensation requirements and paying only salaried wages for Forty (40) hours

  of work per week.

         23.      Subject to discovery, based upon GLOBAL MIAMI JOINT VENTURE paying

  Plaintiff average gross weekly wages of approximately $950.00 per week for Forty (40) hours of

  work per week between approximately late January 2017 and October 2018 and Plaintiff being

  owed an average of approximately Twenty (20) uncompensated overtime hours per week from

  Defendants during a total of approximately Eighty-Five (85) work weeks, if Plaintiff’s unpaid

  overtime wages are found to be due and owing at the time and one-half rate of $35.63/hour

  [$950.00/40 hours = $23.75/hour x 1.5 = $35.63/hour], Plaintiff’s unpaid overtime wages total

  $60,562.50 [$35.63/hour x 20 OT hours/week x 85 weeks = $60,562.50], whereas if Defendants

  were to be able to demonstrate that the FLSA’s “fluctuating workweek method,” 29 C.F.R.

  §778.114, governs the calculation of Plaintiff’s unpaid overtime wages on a half-time basis at the

  rate of $7.92/hour [$950.00/60 hours = $15.83/2 = $7.92/hour], Plaintiff’s unpaid overtime wages

  total $13,468.33 [$7.92/hour x 20 OT hours/week x 85 weeks = $13,458.33].

         17.      Based upon information and belief, while it is believed Defendants are in

  possession, custody, and/or control of records of some of the hours worked by Plaintiff and the

  other similarly situated non-exempt dishwashers, cooks, and restaurant employees, however

  variously titled, between January 2017 and the present, Defendants have failed to maintain

  accurate records of the all of the actual start times, stop times, number of hours worked each day,

  and total hours actually worked each week by Plaintiff and other similarly situated employees

  during each week between January 2017 and the present as required by the FLSA, 29 C.F.R.

  §516.2(a)(7).




                                                  8
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 9 of 13




         24.       Based upon information and belief, while it is believed Defendants are in

  possession, custody, and/or control of records of some of the hours worked by Plaintiff and the

  other similarly situated salaried “Assistant Managers,” “Senior Assistant General Managers,” and

  other restaurant employees, however variously titled, between January 2017 and the present,

  Defendants have failed to maintain accurate records of the all of the actual start times, stop times,

  number of hours worked each day, and total hours actually worked each week by Plaintiff and

  other similarly situated employees during each week between January 2017 and the present as

  required by the FLSA, 29 C.F.R. §516.2(a)(7).

         25.       Nonetheless, Defendants had knowledge of the hours worked in excess of Forty

  (40) hours per week by Plaintiff other similarly situated salaried “Assistant Managers,” “Senior

  Assistant General Managers,” and other restaurant employees, however variously titled, during

  each week between January 2017 and the present but Defendants willfully failed to compensate

  Plaintiff and the other similarly situated employees for all of their actual overtime hours worked

  for Defendants, instead accepting the benefits of the work performed by Plaintiff and other

  employees without the overtime compensation required by the FLSA, 29 U.S.C. §207.

         26.       The complete records reflecting the compensation paid by GLOBAL MIAMI

  JOINT VENTURE to Plaintiff and all other similarly situated salaried “Assistant Managers,”

  “Senior Assistant General Managers,” and other restaurant employees, however variously titled,

  at any location between January 2017 and the present are in the possession, custody, and/or control

  of Defendants.

                                 COUNT I
           OVERTIME VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

         27.       Plaintiff, ALEJANDRO DE RENZIS, readopts and realleges the allegations



                                                   9
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 10 of 13



  contained in Paragraphs 1 through 26 above.

         28.     Plaintiff is entitled to be paid time and one-half of his applicable regular rates of

  pay for each hour he worked for GLOBAL MIAMI JOINT VENTURE as a non-exempt employee

  in excess of Forty (40) hours per work week during the three (3) year statute of limitations period

  between approximately January 2017 and October 2018.

         29.     All similarly situated non-exempt salaried “Assistant Managers,” “Senior Assistant

  General Managers,” and other restaurant employees, however variously titled, of GLOBAL

  MIAMI JOINT VENTURE are also entitled to be paid time and one-half of their applicable regular

  rates of pay for each and every overtime hour they worked for Defendants at any location but were

  not properly compensated for working on Defendants’ behalf during any work weeks within the

  three (3) year statute of limitations period between January 2017 and the present.

         30.     GLOBAL MIAMI JOINT VENTURE has knowingly and willfully failed to pay

  Plaintiff and the other non-exempt salaried “Assistant Managers,” “Senior Assistant General

  Managers,” and other restaurant employees, however variously titled, similarly situated to him at

  time and one-half of their applicable regular rates of pay for all hours worked for Defendants in

  excess of Forty (40) per week between January 2017 and the present.

         31.     At all times material to this Complaint, GLOBAL MIAMI JOINT VENTURE had

  constructive and actual notice that Defendants’ compensation practices did not provide Plaintiff

  and other salaried “Assistant Managers,” “Senior Assistant General Managers,” and other

  restaurant employees, however variously titled, with time and one-half wages for all of their actual

  overtime hours worked between January 2017 and the present based upon, inter alia, Defendants:

  (a) failing to maintain accurate time records of the actual start times, actual stop times, and actual

  total hours worked each week by Plaintiff and the other employees; and (b) knowingly failing to




                                                   10
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 11 of 13



  pay time and one-half wages for all of the actual hours worked in excess of Forty (40) hours per

  week by Plaintiff and other similarly situated employees, and instead failing to pay time and one-

  half wages for the overtime hours that GLOBAL MIAMI JOINT VENTURE knew had been

  worked for the benefit of Defendants.

         32.     By reason of the said intentional, willful and unlawful acts of GLOBAL MIAMI

  JOINT VENTURE, all Plaintiffs (the named Plaintiff and those similarly situated to him) have

  suffered damages plus incurring costs and reasonable attorneys’ fees.

         33.     Based upon information and belief, at all times material to this Complaint,

  GLOBAL MIAMI JOINT VENTURE did not have a good faith basis for its failure to pay time

  and one-half wages for all of the actual hours worked by Plaintiff and the other similarly situated

  salaried “Assistant Managers,” “Senior Assistant General Managers,” and other restaurant

  employees, however variously titled, as a result of which Plaintiff and those similarly situated to

  him are entitled to the recovery of liquidated damages from Defendants pursuant to 29 U.S.C.

  §216(b).

         34.     Plaintiff has retained the undersigned counsel to represent him in this action, and

  pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from Defendants all reasonable

  attorneys’ fees and costs incurred as a result of Defendants’ violations of the FLSA.

         35.     Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, ALEJANDRO DE RENZIS and any current or former

  employees similarly situated to him who join this action as Opt-In Plaintiffs, demand judgment

  against Defendants, jointly and severally, AIRPORT CONCESSIONS GROUP, INC. and

  GLOBAL CONCESSIONS, INC., a/k/a GLOBAL MIAMI JOINT VENTURE, for the payment

  of all unpaid overtime compensation, liquidated damages, reasonable attorneys’ fees and costs of




                                                   11
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 12 of 13



  suit, and for all proper relief including prejudgment interest.

                                      JURY TRIAL DEMAND

         Plaintiff demands trial by jury on all issues so triable.


  Dated: January 31, 2020                        Respectfully submitted,

                                         By:     KEITH M. STERN
                                                 Keith M. Stern, Esquire
                                                 Florida Bar No. 321000
                                                 E-mail: employlaw@keithstern.com
                                                 LAW OFFICE OF KEITH M. STERN, P.A.
                                                 80 S.W. 8th Street, Suite 2000
                                                 Miami, Florida 33130
                                                 Telephone: (305) 901-1379
                                                 Attorneys for Plaintiff




                                                   12
Case 1:20-cv-20449-JEM Document 1 Entered on FLSD Docket 01/31/2020 Page 13 of 13
